        Case 1:19-cr-00696-PAE Document 215-3 Filed 04/23/21 Page 1 of 1



GATEGUARD, INC
Party ID: 10012245094
483067038085
$-259,988.17
Loss incurred

Ari Teman
Party ID: 35024831102
483066615580
$13,477.37
Sent funds to customer, received in return mail, funds are in Hold Harmless (funds were transferred
from account 8085 & 0351)

Friend or Fraud
Party ID: 10010097658
483056100351
$8,411.00
Sent funds to customer, received in return mail, funds are in Hold Harmless (Funds were transferred
from account 8085)

Friend or Fraud
Party ID: 10010097658
483063787673
$2.69
Sent funds to customer, received in return mail, funds are in Hold Harmless

TOUCHLESS LABS LLC
Party ID: 10010031003
483056101046
$86,910.71
Sent funds to customer, received in return mail, funds are in Hold Harmless (Funds were transferred
from account 0351)

Total loss: $259,988.17
Total in Hold Harmless/Potential seizure: $108,801.77




                                                                  FINOCCHIARO
                                                                       3503-19
